[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                             JUDGMENT ENTRY.  {¶ 1} This appeal, considered on the accelerated calendar under App.R. 11.1(E) and Loc.R. 12, is not controlling authority except as provided in S.Ct.R.Rep.Op. 2(G)(1).
  {¶ 2} Following guilty pleas, the trial court convicted defendant-appellant, Robert E. Wilks, of improper transportation of a firearm pursuant to R.C. 2923.16, a first-degree misdemeanor, and trafficking in marijuana pursuant to R.C. 2925.03(A)(2), a fifth-degree felony. It sentenced him to serve one hundred eighty days' confinement on the misdemeanor, but suspended all one hundred eighty days and placed him on probation. It sentenced him to two years of community control on the felony.
  {¶ 3} Pursuant to Anders v. California (1967), 386 U.S. 738,87 S.Ct. 1396, appellant's appointed counsel has advised this court that, after a thorough review of the record, he can discern no arguable assignments of error to present on appeal. He has advised appellant of this determination, and appellant has not responded. Appellant's counsel now asks this court to conduct an independent review of the record to determine whether the proceedings were free from prejudicial error. SeeFreels v. Hills (C.A. 6, 1988), 843 F.2d 958; State v. Mackey (Dec. 17, 1999), 1st Dist. No. C-990302. He has also filed a motion to withdraw as appellant's counsel.
  {¶ 4} After reviewing the entire record, we are satisfied that appellant's counsel has provided his client with a diligent and thorough search of the record and that he has correctly concluded that the proceedings below were free from prejudicial error. See Penson v. Ohio
(1988), 488 U.S. 75, 109 S.Ct. 346. We find no grounds to support a meritorious appeal. Accordingly, we affirm the trial court's judgment, and we overrule counsel's motion to withdraw. We find the appeal to be frivolous under App.R. 23 and R.C. 2505.05, but we refrain from taxing costs and expenses against appellant because he is clearly indigent.
  {¶ 5} Further, a certified copy of this Judgment Entry shall constitute the mandate, which shall be sent to the trial court under App.R. 27. Costs shall be taxed under App.R. 24.
Doan, P.J., Gorman and Painter, JJ.